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Proposed Counsel to the Official Committee of Unsecured
Creditors of Purdue Pharma L.P., et al.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             )
    In re:                                                   )        Chapter 11
                                                             )
    PURDUE PHARMA L.P., et al.,                              )        Case No. 19-23649 (RDD)
                                                             )
                                     Debtors.1               )        (Jointly Administered)
                                                             )
                 VERIFIED STATEMENT OF THE OFFICIAL COMMITTEE OF
                 UNSECURED CREDITORS OF PURDUE PHARMA L.P., ET AL.,
                         PURSUANT TO BANKRUPTCY RULE 2019

             Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), the Official Committee of Unsecured Creditors (the “Committee”) appointed in the




1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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chapter 11 cases of Purdue Pharma L.P., et al. (collectively, the “Debtors”), hereby submits this

verified statement (the “Verified Statement”) and in support thereof states:

       1.      The Debtors are pharmaceutical companies that manufacture and sell, among other

products, opioid pain medications such as OxyContin Extended-Release Tablets CII

(“OxyContin”). As a result of the Debtors’ alleged role in the ongoing opioid crisis in the United

States, the Debtors have been named in more than 2,600 lawsuits filed through the state and federal

court systems. While the Debtors have significant trade debt, current and potential public litigants

(e.g., states and municipalities) and private litigants represent the vast majority of claims against

the Debtors.

       2.      On the afternoon of Thursday, September 26, 2019, the United States Trustee for

Region 2 appointed nine creditors to serve on the Committee in the Debtors’ chapter 11 cases

pursuant to section 1102 of title 11 of the United States Code (the “Bankruptcy Code”). The

Committee currently comprises the following entities and persons: (1) Blue Cross and Blue Shield

Association; (2) CVS Caremark Part D Services L.L.C. and CaremarkPCS Health, L.L.C.; (3)

Ryan Hampton; (4) Cheryl Juaire; (5) LTS Lohmann Therapy Systems, Corp.; (6) Pension Benefit

Guaranty Corporation; (7) Walter Lee Salmons; (8) Kara Trainor; and (9) West Boca Medical

Center. The Committee selected counsel, a financial advisor, and an investment banker on

Thursday, September 26, Tuesday, October 1, and Thursday, October 3, respectively.

       3.      The Committee members represent a diverse array of creditor interests and share in

common a genuine commitment to these cases and an appreciation for the gravity and significance

of their participation on the Committee. Each member of the Committee takes his, her, or its role

very seriously, and is fully committed to these cases and the creditor interests the Committee

represents. Indeed, the Committee has convened by phone virtually every non-holiday business



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day since its inception and it, and its advisors, are working diligently to gather and evaluate

information concerning the cases and proceedings to date.

       4.      Notwithstanding the foregoing, based on conversations with advisors to certain

other parties in these cases, it appears that certain parties may believe that (a) the Committee does

not represent the interests of the public litigants because no public litigant was seated on the

Committee and (b) because the public litigants may hold the majority of claims against the Debtors,

such public litigants are the most important litigants in these Cases.

       5.      These beliefs are inaccurate. First, the Committee takes its role as a fiduciary for

all unsecured creditors seriously. We understand that the U.S. Trustee’s office interprets the Code,

not unreasonably, to exclude governmental units from serving on official committees of unsecured

creditors. See 11 U.S.C. § 101(41) (defining “Person”); see also id. § 1102(b)(1) (providing that

a committee should consist of Persons). It is axiomatic, however, that the Committee represents,

and owes fiduciary duties to, all unsecured creditors, including those that the U.S. Trustee decides

may be barred from service on the Committee because they are governmental units, parties to a

restructuring support agreement, creditors who also hold secured claims, or otherwise. Every

member of the Committee understands that obligation and intends to discharge it in full, and with

enthusiasm, including, without limitation, with respect to the segment of its constituency

composed of governmental units.

       6.      Second, although the public litigants are important creditors in these cases, they are

far from alone in that regard. The class of unsecured claims includes public litigants, private

litigants, trade creditors, and general unsecured creditors. The public litigants have dominated the

press for the past year or so (and some of them have agreed to the “Settlement Structure”) and

there has been less press regarding the private litigants—and perhaps an inclination to discount the



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size and importance of those claims. Doing so, however, would be unfair, and contrary to the facts.

The private litigants include, among others, private hospitals, private health insurance carriers,

personal injury plaintiffs (both adult and child), a class of claimants representing children born

with Neonatal Abstinence Syndrome (“NAS”) and birth defects, and a class of health insurance

payers who claim that their health insurance premiums increased as a result of the opioid crisis.

Collectively, the amount of the private litigants’ claims is vast—just like the public litigants.

Additionally, there are trade and general unsecured creditors who have claims against the Debtors

in significant dollar amounts who are also part of the unsecured class (and thus part of this

Committee’s constituency).

                 Composition of the Official Committee of Unsecured Creditors

       7.       The Committee members include the following broad cross-section of unsecured

creditors:

            Blue Cross and Blue Shield Association (“BCBS-Association”), a national
             association of 36 independent community-based Blue Cross Blue Shield
             companies, provides healthcare coverage to one-third of all Americans. BCBS-
             Association’s and its members’ unliquidated claims arise from payments of
             excessive amounts for prescription medications used by members of the health
             plans they administer, and for other amounts paid for the treatment of illnesses,
             injuries, and addiction sustained by members from consumption of the Debtors’
             drugs, and costs that would not have been incurred but for the actions of the
             Debtors.

            CVS Caremark Part D Services L.L.C. and CaremarkPCS Health L.L.C.
             (together, “Caremark”) are trade creditors that are parties to certain rebate
             agreements with Purdue Pharma L.P. (together with its affiliates, “Purdue”).
             Caremark possesses various claims against Purdue, including for unpaid rebates
             owed by Purdue to Caremark under the rebate agreements for certain drugs
             manufactured or developed by Purdue and included in Caremark’s formulary
             for eligible beneficiaries of prescription drug plans.

            Ryan Hampton was a staffer at the White House in the Clinton administration
             and became addicted to OxyContin and other prescription opioids. He
             eventually became homeless and addicted to heroin. After numerous relapses
             and overdoses, he eventually overcame his addiction. He founded the Voices

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          Project to spread awareness about addiction and provide support to addicts,
          their friends, and families. Hampton is also an author on addiction and an
          expert in Public Policy, stemming from his days as a White House aide and
          political organizer in Washington, D.C. Hampton’s claims are not liquidated
          and, when filed, will include claims based on personal injury, including
          damages for inducing the unnecessary prescription of opioid medication,
          resulting in severe personal injury, addiction, overdoses, lost wages, and
          emotional injury.

         Cheryl Juaire’s son Corey became addicted to prescription opioids, including
          those manufactured by the Debtors, after a hernia operation. His dependence
          worsened over time, and in 2011, Juaire’s son died of an overdose at the age of
          23, leaving behind a young daughter, for whom Cheryl is guardian ad litem.
          Juaire founded Team Sharing—Massachusetts, a support group for family
          members who have lost loved ones due to addiction, which has since become a
          nationwide support network. Through her work with Team Sharing and contact
          with her state’s attorney general, Juaire learned of the Debtors’ conduct years
          after her son’s death. Juaire’s unliquidated claims comprise as-yet unfiled
          litigation claims based on the wrongful death of her son and loss of filial
          consortium.

         LTS Lohmann Therapy Systems, Corp., with its affiliate LTS Lohmann
          Therapie-Systeme AG (together, “LTS”), are trade creditors, and are engaged
          in the development and manufacture of innovative drug delivery systems such
          as transdermal patches and oral thin films for the pharmaceutical industry,
          which treat chronic pain as well as opioid addiction and dependence. For
          Purdue, LTS manufactures a transdermal patch that delivers around-the-clock
          treatment of moderate to severe chronic pain. The Debtors market and sell such
          patches under the Butrans brand and generically. LTS has several contracts
          with Purdue and is paid for the production of the patches and royalty fees based
          upon the Debtors’ sales of the patches.

         Pension Benefit Guaranty Corporation (“PBGC”) is a wholly owned United
          States government corporation and agency created by the Employee Retirement
          Income Security Act of 1974 (“ERISA”). PBGC’s unliquidated claims arise
          from statutory ERISA claims for unfunded benefit liabilities, unpaid minimum
          funding contributions, and unpaid Title IV insurance premiums owed with
          respect to each PBGC-insured pension plan.

         Walter Lee Salmon’s daughter became addicted after being prescribed opioids,
          including those manufactured by the Debtors, while recovering from an
          automobile accident. As a result of her opioid dependency during pregnancy,
          Salmon’s two grandchildren, which he raises along with his daughter, were born
          with NAS. Salmon, along with his family members, seek to be named as class
          representatives in a lawsuit seeking to establish a medical monitoring program
          for children born addicted to opioids and securing compensation for those

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                children. Salmon’s unliquidated claims comprise a putative class action filed
                in the multi-district litigation (the “MDL”) currently pending in the Northern
                District of Ohio seeking medical monitoring and personal injury damages.2

               Kara Trainor’s son was exposed to opioids in utero as a result of her use of
                opioids prescribed to her. When Trainor’s son was born, he exhibited signs of,
                and was diagnosed with, NAS. As a result, he spent the first months of his life
                in an intensive care unit being treated for drug addiction withdrawal, and mental
                and physical issues and ailments, including developmental delays, vision
                problems, and incontinence. Trainor’s son faces a lifetime of latent medical
                and emotional conditions, including brain damage, muscular-skeletal
                developmental disorders, speech and language disorders, cognitive
                developmental disorders, psychiatric disorders, emotional development
                disorders, behavioral disorders, and increased risk of addiction. Trainor filed
                an action against Purdue alleging numerous causes of action: public nuisance;
                negligence; breach of implied warranty; breach of implied warrant for fitness
                for a particular purpose; fraudulent misrepresentation; fraudulent concealment;
                negligent misrepresentation; strict products liability for failure to warn;
                negligence for failure to warn; products liability; and punitive damages.3

               West Boca Medical Center and its affiliates (“West Boca”) are part of Tenet
                Healthcare, one of the largest hospital systems in the United States. West Boca
                filed a complaint4 in the MDL.5 The action commenced by West Boca asserts
                multiple causes of action against the Debtors, including RICO violations,
                deceptive and unfair trade practices, misleading advertising, breach of implied
                warranty, negligence, nuisance and unjust enrichment, and was selected as the
                bellwether for hospital cases in the MDL.

           8.      In accordance with Bankruptcy Rule 2019, attached hereto as Exhibit A is a list of

the names and addresses of, and the nature and amount of all disclosable economic interests held

by, each Committee member, directly or through entities managed or advised by such Committee

member, in relation to the Debtors. The claims and claim amounts set forth in this Verified

Statement and on Exhibit A have been provided by the applicable Committee member, and by




2
    Salmons v. Purdue Pharma, et al., Case No. 18-op-45268 (N.D. Ohio).
3
    Trainor as Next Friend v. Purdue Pharma L.P., Case No. 2019-L-010077 (Ill. Cir. Ct., Cook County).
4
 West Boca Medical Ctr., Inc. v. AmerisourceBergen Drug Corp., Case No. 18-op-45530 (N.D. Ohio). Other Tenet
subsidiaries and West Boca Affiliates are also plaintiffs in other lawsuits.
5
    In re National Prescription Opiate Litigation, Case No. 17-md-02804 (N.D. Ohio).

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filing this Verified Statement, the Committee makes no representation with respect to the amount,

allowance, validity, secured status, or priority of such claims and reserves all rights with respect

thereto.

       9.      Nothing contained in this Verified Statement (or Exhibit A hereto) should be

construed as a limitation upon, or waiver of any Committee member’s rights to assert, file, and/or

amend its claim(s) in accordance with applicable law and any orders entered in these cases

establishing procedures for filing proofs of claim.

       10.     The Committee reserves the right to amend or supplement this Verified Statement

in accordance with the requirements set forth in Bankruptcy Rule 2019.



 New York, New York                    AKIN GUMP STRAUSS HAUER & FELD LLP
 Dated: October 5, 2019
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                                       Proposed Counsel to the Official Committee of
                                       Unsecured Creditors of Purdue Pharma L.P., et al.




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                                     Exhibit A
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            Name                                   Address                                 Nature and Amount of
                                                                                       Disclosable Economic Interests1


  Blue Cross and Blue Shield                 1310 G Street NW              Unliquidated unsecured claim of at least between $68.8
         Association                        Washington, DC 20005           billion and $78.6 billion.

 CVS Caremark Part D Services                                              Combined unsecured claims of in excess of $60 million
                                           2211 Sanders Road, NBT-9
L.L.C. and CaremarkPCS Health,                                             plus unliquidated amounts, subject to further analysis and
                                             Northbrook, IL 60062
            L.L.C.                                                         reconciliation.
                                             c/o Anne Andrews
                                                                           Unliquidated unsecured claim on the basis of personal
                                            Andrews Thornton
        Ryan Hampton                                                       injury, including addiction, overdoses, lost wages, and
                                        4701 Von Karman, Suite 300
                                                                           emotional injury.
                                         Newport Beach, CA 92660
                                             c/o Anne Andrews
                                            Andrews Thornton               Unliquidated unsecured claim on the basis of wrongful
         Cheryl Juaire
                                        4701 Von Karman, Suite 300         death.
                                         Newport Beach, CA 92660

LTS Lohmann Therapy Systems                  21 Henderson Dr.
                                                                           Unsecured claims totaling an estimated $3,300,000.
        Corporation                        West Caldwell, NJ 07006


   Pension Benefit Guaranty       1200 K Street NW Washington, DC 20005-
                                                                           Unliquidated unsecured claim of at least $139,000,000.
         Corporation                               4026

                                            c/o Kevin W. Thompson          Unliquidated unsecured class claim on the basis of
     Walter Lee Salmons                     2030 Kanawha Blvd. E.,         medical monitoring costs and unliquidated unsecured
                                             Charleston, WV 25311          class claim for direct compensation to each NAS victim.
                                            c/o Celeste Brustowicz
                                                                           Unliquidated unsecured claim for medical, physical, and
                                            Cooper Law Firm, LLC
         Kara Trainor                                                      addiction monitoring, and unliquidated unsecured claim
                                             1525 Religious Street
                                                                           for personal injuries.
                                            New Orleans, LA 70130
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                    Name                                           Address                                         Nature and Amount of
                                                                                                               Disclosable Economic Interests1


                                                           21644 Florida Highway
         West Boca Medical Center                                                                  Unliquidated unsecured claim of at least $7 billion.
                                                           Boca Raton, FL 33428




1
    To the best of counsel’s knowledge, the information included herein is accurate as of October 5, 2019.


                                                                                  2
